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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                               __________________________


DIANE CONMY and MICHAEL B. REITH,

                Plaintiffs,

v.                                                                        Case No. 4:04-CV-105

AMTRAK, CITY OF KALAMAZOO, JOHN                                           HON. GORDON J. QUIST
DOE and LAMPOON, INC.,

            Defendants.
______________________________________/


                                               OPINION

        In this wrongful death action, Diane Conmy and Michael B. Reith (Plaintiffs), representatives

of the estate of Erica Reith, reached a partial settlement agreement with the City of Kalamazoo, John

Doe, an employee of the City of Kalamazoo, and Lampoon, Inc. (collectively “Settling Defendants”).

Plaintiffs move for Court approval of this settlement agreement. Amtrak, the only defendant that

did not reach a settlement with Plaintiffs, objects to this settlement agreement. The Settling

Defendants support the motion.

                                                 I. Facts

        In this wrongful death action, Erica Reith, a 19-year old student, was killed when her vehicle

collided with an Amtrak train on July 8, 2003. Investigation shows that the accident was caused by

the failure of a signal light erected at the intersection of the railroad track and the public street where

Reith was traveling. It is claimed that before the crash, Amtrak, the City of Kalamazoo, John Doe,

and Lampoon had duties to maintain the signal, were all aware that the signal was not functioning,

but they did not remedy the problem.
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        All of the parties participated in this Court’s voluntary facilitative mediation (VFM), which

is a very admired program for alternative dispute resolutions pursuant to a local court rule. The

trained mediator in this case, Jon R. Muth, was president of the State Bar of Michigan. The purpose

of the program is, of course, to enable parties to reach fair resolutions of their disputes before

expending large sums on attorneys fees and other increasingly oppressive costs related to litigation.

The program has been very effective in that between 65 and 70 percent of the cases submitted to

VFM settle.

        In the instant case, two out of the three defendants wish to settle with Plaintiffs for a total of

$500,000. Amtrak does not wish to settle at this time.

        The settlement agreement is conditional in that the Settling Defendants claim they will not

settle if they can be brought back into the litigation to contribute to the judgment against or

settlement with Amtrak or another party. To address this concern, the settlement agreement

provides: 1) Amtrak cannot file any claims in the future against the Settling Defendants; 2) Plaintiffs,

having settled with the Settling Defendants, may not again release the liability of these Settling

Defendants in any subsequent settlement with Amtrak; and 3) Plaintiffs will not settle with Amtrak

or any other party unless the party waives any right to contribution from the Settling Defendants.

        Amtrak does not object to the settlement, per se. However, Amtrak contends that the Court

cannot limit Amtrak’s “future rights” and preclude Amtrak from filing claims against the Settling

Defendants or third parties. On the other hand, Plaintiffs argue that public policy encourages

settlements and that the Settling Defendants will enter into the settlement only when it is full and

final, and thus any right that Amtrak has to bring future claims against the Settling Defendants will

render the settlement agreement meaningless. Plaintiffs argue that Amtrak does not have the right

to file a future claim for contribution. Plaintiffs contend that it is not necessary for Amtrak to reserve



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its right to file future claims because Michigan law guarantees that Amtrak will not pay more than

its fair share of liability. Plaintiffs say that Amtrak maintains the right to file a notice of non-party

fault under Michigan law.1

         The City of Kalamazoo, which is contributing by far the greatest portion of the settlement,

states that it is concerned about future liability to Amtrak because of the recent Michigan Supreme

Court case of Gerling Konzern Allgemeine Versicherungs AG v. Lawson, 472 Mich. 44, 693 N.W.2d

149 (2005). Settling Defendants are concerned that Gerling might allow Amtrak to settle with

Plaintiffs and then seek “additional” contribution from Settling Defendants.

                                                   II. Discussion

A.       Contribution Right Among Tortfeasors

         In Gerling, the court held that, pursuant to M.C.L. § 600.2925a, a settling defendant had the

right to contribution from other responsible tortfeasors who did not settle. The court pointed out that

as part of the state’s tort reform legislation, Michigan eliminated joint and several liability in certain

tort actions, those involving common liability such as the same wrongful death, by, among other

things, requiring that the factfinder in such actions allocate the percentage of fault among all

responsible tortfeasors, and providing that each tortfeasor need not pay damages in an amount greater

than its allocated percentage of fault. 472 Mich. at 51, 56, 693 N.W.2d at 152, 155. The court said

that the legislation rendered unnecessary most claims for contribution. Gerling recognized the

important point that courts encourage settlement, and, in fact, the Michigan Supreme Court’s ruling

in Gerling promoted settlement because it gave an incentive to the only named defendant to settle

with the only plaintiff – a hope to recover at least some of the settlement costs from other potentially


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           Plaintiffs also request the Court to determine whether the d eced ent consciously suffered . Amtra k objects to
this and states that such determination is irrelevant to court approval of the settlement agreement. This dispute was
handled in open court when the Court determined that the conscious suffering determination would not be binding upon
Amtrak.

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responsible tortfeasors who could not be brought into the Court of Claims. All Gerling holds is that

settling defendants can seek contribution from non-settling defendants. It does not hold that settling

defendants can seek contribution from other settling defendants.

       In this Court’s judgment, to allow settling defendants to seek contribution from other parties

that had previously settled would stifle any meaningful reason for any partial settlement. All

defendants who wish to settle would be held hostage to the most unreasonable co-defendants or the

defendant with the most to lose. (The Court is not suggesting that Amtrak is unreasonable in not

settling or that it has more to lose than its co-defendants.) A statute such as the tort reform

legislation must be read as a whole. The Michigan tort reform legislation recognizes and resolves

the potential problem of the nervous settling party:

        If a release or a covenant not to sue or not to enforce judgment is given in good faith
        to 1 of 2 or more persons for the same injury or the same wrongful death, both of the
        following apply:
        (a) The release or covenant does not discharge 1 or more of the other persons from
        liability for the injury or wrongful death unless its terms so provide.
        (b) The release or covenant discharges the person to whom it is given from all
        liability for contribution to any other person for the injury or wrongful death.

M.C.L. § 600.2925d (emphasis added). See also Conkright v. Ballantyne of Omaha, Inc., 496 F.

Supp. 147, 152 (W. D. Mich. 1980) (“The Michigan contribution statute provides that a release of

one of two or more joint tortfeasors discharges the party released from all liability for contribution

. . . .”). The settling tortfeasor’s shield from further liability provides a strong incentive to settle.

“A joint tortfeasor has an incentive to settle a case only if the amount agreed upon represents the

final and total liability that will have to be paid for the matter to any party.” Miller v. Riverwood

Recreation Ctr., Inc., 215 Mich. App. 561, 569, 546 N.W.2d 684, 688 (1996).

        It is logical to assume that joint tortfeasor [sic] will be more likely to enter into
        settlement negotiations with a plaintiff if they know they will not be entitled to
        contribution if the other tortfeasor settles and they do not. Since this state of facts



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       reasonably supports the legislation’s objective, it cannot be said to violate due
       process.

West v. Rollhaven Skating Arena, 105 Mich. App. 100, 104, 306 N.W.2d 408, 410 (1981). A policy

that encourages settlements is more important than a policy that would allow contribution among

joint tortfeasors, and thus the discrimination against non-settling tortfeasors does not violate equal

protection. Id. at 105-106, 306 N.W.2d at 411.

       So, it appears to this Court that the Settling Defendants are protected by both subparts of §

600.2925d: (a) Any agreement with Amtrak will be conditioned upon the agreement not to pursue

the Settling Defendants; and (b) even if Amtrak does sue the Settling Defendants, the Settling

Defendants are protected because they settled with Plaintiffs.

       Also, the possibility that the Settling Defendants can be sued for contribution by Amtrak or

another party is blocked by Plaintiffs’ agreement that they will not settle with anyone else unless the

other party waives any right to contribution from the Settling Defendants. Even Amtrak, in oral

argument, said that what the Plaintiffs and the Settling Defendants wanted to do in their private

settlement agreement was up to them. This provision in the Settlement Agreement may make

settlement more or less easy with Amtrak, but it is only one consideration that Plaintiffs and Amtrak

will have in their considerations of whether to enter into a settlement.

       Furthermore, Michigan tort reform legislation protects Amtrak if it goes to trial. M.C.L. §

600.6304 abolishes joint and several liability in cases such as the instant case. A person who goes

to trial “shall not be required to pay damages in an amount greater than his . . . percentage of fault

as found under subsection 1.” M.C.L. § 6304(4). If Amtrak goes to trial, it can defend and seek to

apportion liability to the “empty chairs” as it deems fit – “We weren’t responsible. It was the City

of Kalamazoo’s fault.” (This is a characterization, not a true quote.) Amtrak will be held liable only

for the amount of loss for which the factfinder holds it responsible. Thus, Amtrak is not deprived


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of any right to contribution if it goes to trial because it will not be held responsible for more than its

fair share of the liability.

        Finally, there is the problem that Amtrak raised at oral argument - “It wasn’t necessarily our

fault. Windemuller Electric had a contract with the City of Kalamazoo to maintain the light and it

failed to do so.” (Another characterization.) The City denies any such contract. Nothing in the

settlement agreement prohibits Amtrak from trying to bring Windemuller Electric into the case. And

if there is such a contract, the City, in paying $490,000 to the Plaintiffs, is making a significant

contribution to any settlement whether it is directly responsible or responsible through its

independent contractor. It seems to this Court that if Windemuller had such a contract with the City,

the City would already have brought Windemuller into the case.

        The possibility of another potential defendant causing any settlement to stall is a problem the

parties must work out themselves. This Court does not want to determine any issue, whether clear

or not clear, regarding any party that has not had an opportunity to be heard. The City said at oral

argument that it had no contract with Windemuller to fix the light. And, even if it did, it seems that

the City, and not Windemuller, as the actual wrongdoer would have the claim for contribution or

indemnity. That is, it is difficult to determine the scenario by which Windemuller could sue the City

because Windemuller breached its contract with the City. The Court does not see Windemuller as

a problem for the City, but the Court is not the lawyer for the City, and if this “kills the deal” for the

City, so be it.

B.      Indemnification Right Among Tortfeasors

        Michigan law reserves the right of indemnification among tortfeasors:

        (7) This section does not impair any right of indemnity under existing law. Where 1
        tort-feasor is entitled to indemnity from another, the right of the indemnity obligee


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        is for indemnity and not contribution, and the indemnity obligor is not entitled to
        contribution from the obligee for any portion of his indemnity obligation.

M.C.L. § 600.2925a.

        “Common law indemnity is based on the equitable principle that where the wrongful act of

one results in another being held liable, the latter party is entitled to restitution from the wrongdoer.”

Hill v. Sullivan Equip. Co., 86 Mich. App. 693, 696, 273 N.W.2d 527, 529 (1979). “Generally,

indemnification is an equitable doctrine that shifts the entire burden of judgment from one tortfeasor

who has been compelled to pay it, to another whose active negligence is the primary cause of the

harm.” St. Luke’s Hosp. v. Giertz, 458 Mich. 448, 453, 581 N.W.2d 665, 668 (1998).

        Indemnity should be distinguished from contribution. Contribution distributes a loss
        among joint tortfeasors, requiring each to pay its proportionate share; indemnity
        shifts the entire loss from the party who has been forced to pay to the party who
        should properly bear the burden. The right to indemnity may arise, in the absence of
        an express agreement, to prevent a result regarded as unjust or unsatisfactory where
        the relationship between the parties entitles the one held liable to shift its total loss.

Langley v. Harris Corp., 413 Mich. 592, 597, 321 N.W.2d 662, 665 (1982) (citation omitted).

        Accordingly, to be entitled to common law indemnity, the party seeking it must be free of

active negligence or fault. St. Luck’s Hosp., 458 Mich. at 454, 581 N.W.2d at 668. See also Peeples

v. City of Detroit, 99 Mich. App. 285, 292, 297 N.W.2d 839, 842 (1980) (holding that a party

seeking common law indemnity must plead and prove freedom from personal fault). To determine

whether the party seeking indemnification was “actively” or “passively” negligent, the court must

examine the primary plaintiff’s complaint. Feaster v. Hous, 137 Mich. App. 783, 787, 359 N.W.2d

219, 222 (1984). “If that complaint alleges ‘active’ negligence, as opposed to derivative liability,

the defendant is not entitled to common-law indemnity.” Peeples, 99 Mich. App. at 293, 297

N.W.2d at 842.



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       This Court concludes that Amtrak does not have any right to seek indemnification from the

Settling Defendants because the complaint alleges that Amtrak was actively negligent. Count II of

the complaint alleges that:

       16.     Defendant Amtrak had a duty to inspect, test, repair, adjust, replace and
               maintain the railroad crossing warning device pursuant to 49 USC §§ 20101
               et seq., 23 U.S.C. § 130, 23 CFR §§ 646.200 et seq., and 49 CFR 234 et
               seq.[.]
       ...
       18.     Defendant Amtrak breached said duties by failing to adequately and fully
               inspect, test, repair, adjust, repair [sic] and maintain the railroad crossing
               warning device.

(Compl. ¶¶ 16 & 18.)

       The plain language of the complaint alleges Amtrak of active negligence. Indeed, Amtrak’s

negligence may be the primary cause of the accident. Therefore, Amtrak is not entitled to seek

indemnification from the Settling Defendants.

       A separate Order will issue.



Dated: May 16, 2005                                        /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE




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